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UNITED STATES DISTRICT COURT AUG 1G 2905
for the =

District of Maryland aS Bs coun

DAVID J. BOSHEA,

Plaintiff
Vv. Civil Action No.
1-21-C V-00309-ELH
COMPASS MARKETING,
INC.,
Defendant

 

NONPARTY DANIEL WHITE’S OBJECTION TO COMPASS MARKETING,
INC.’S SUBPOENA DUCES TECUM AND MOTION TO QUASH SUBPOENAS
AND FOR PROTECTIVE ORDER

 

Nonparty, Daniel J. White (“White”), in Proper Person, pursuant to Rule 45 of
the Federal Rules of Civil Procedure objects to the Defendant Compass Marketing, Inc.’s
demand to testify, and for the production, inspection and copying of the documents
requested in the subpoena duces tecum, a copy of which is attached. Further, White
moves this Court for the entry of: (1) an order quashing Defendant Compass Marketing,
Inc.’s (“Compass”) subpoenas; and (2) a protective order. In support thereof, White

states:

1. White is not a party to this litigation, which involves a claim to recover wages and
other damages by reason of a breach of an employment contract between David J. Boshea

(“Boshea”) and Compass.
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2. The subpoena duces tecum served upon White is overly broad, unreasonable and

oppressive because:

A. The documents and information sought from White could be obtained - and

are more readily available - from the Plaintiff.

B. There are no temporal limitations to the requests for documents and

information.

C. The subpoena duces tecum is intended to continue a pattern of harassment
against White and to discourage his participation in ongoing federal and state
investigations into the actions of the management of Compass and its attorney,

Stephen P. Stern (“Stern”).

D. The subpoena duces tecum requests production, inspection and copying of
documents that are not relevant to the instant case, but instead are demanded as a
sort of proxy war in a dispute among the shareholders on Compass, one of whom
is a business partner of attorney Stern. White had no prior knowledge of, and did
not participate in either the development, execution or ratification of the Boshea
employment agreement with Compass. Further, White had no prior knowledge
of, and did not participate in either the development, execution or ratification of

the termination of Boshea’s employment with Compass.

E. The subpoena duces tecum was not properly issued, as attorney Stern is
disqualified from serving as counsel for Compass under the Maryland Attorneys’

Rules of Professional Conduct because, among other reasons, attorney Stern is
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also the attorney for, and maintains an undisclosed financial interest in, Smart
Retail, Inc. (“Smart Retail”), a business furtively established by Stern in
Wyoming in 2019, and whose interests are directly and materially adverse to

Compass.

F. The subpoena duces tecum was not properly issued, as attorney Stern is
disqualified from serving as counsel for Compass under the Maryland Attorneys’
Rules of Professional Conduct because, among other reasons, attorney Stern is
also the attorney for, and recently testified in federal court on behalf of, and
maintains an undisclosed financial interest in, Tagnetics, Inc., a business who is
not an “affiliate” of Compass, and whose interests are directly and materially

adverse to Compass.

G. The subpoena duces tecum was not properly issued, as attorney Stern is
disqualified from serving as counsel for Compass because, among other reasons,
Stern was not properly retained by Compass and was instead engaged by a single
shareholder of Compass who shares with attorney Stern a financial interest in

Smart Retail, Inc., whose interests are directly and materially adverse to Compass;
H. The subpoena duces tecum was not properly served upon White.

I. The information and the documents sought in the subpoena duces tecum are an

invasion of the attorney/client privilege.

3. The subpoena duces tecum represents harassment against a nonparty, which should not

be permitted by the court until it is shown that discovery has been exhausted against
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parties to the litigation and until it has been demonstrated that the discovery is not
intended to oppress White and to discourage him from continuing to participate in federal

and state investigations into potential fraud committed by Tagnetics and Smart Retail.

4, White is prepared to meet with counsel to discuss the subpoena duces tecum, these

objections and possible protective orders.

WHEREFORE, for these reasons, Nonparty, Daniel White, respectfully requests
that this Court enter an order, pursuant to Rule 45 of the Federal Rules of Civil
Procedure: (1) quashing the subpoena duces tecum; or in the alternative (2) entering a

protective order.

August 16, 2021

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Daniel J. White

In Proper Person

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danieljwhite@msn.com

 

 
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CERTIFICATE OF SERVICE
I hereby certify that on August 16, 2021, I served this Objection to Compass
Marketing, Inc.’s Subpoena Duces Tecum and Motion to Quash Subpoenas via electronic

mail to:

Thomas J. Gagliardo

Gilbert Employment Law, PC
1100 Wayne Avenue, Suite 900
Silver Spring, MD 20910

Email: tgagliardo@gelawyer.com

 

And

Gregory J. Jordan

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350 North LaSalle Street, Suite 1100
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And

Stephen B. Stern

Kagan, Stern, Marinello & Beard, LLC
238 West Street

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Email: stern@kaganstern.com

 

August 16, 2021

Mout | hes,

Daniel J. White

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